Case 5:09-cr-00032-MFU      Document 119 Filed 06/22/16         Page 1 of 1          Pageid#:
                                       367                              CLERK'S OFFICE U.s.DISI COURT
                                                                               ATROANOKE,VA
                                                                                    FILED
                                                                                     !
                                                                                     ,?'s?2 2 zgjs
                    IN TH E UN ITED STA TES DISTRIC T C O UR T
                   FO R TH E W E STER N DISTR IC T O F V IR GIN IA           :yJtj         L    ,   CLERK
                                                                               ;
                            H A M SO NBU R G D IV ISIO N
                                                                                            L
U N ITE D STA TES O F A M ER ICA               C aseN o.5:09-cr-00032-2

                                               O R D ER

M OISES M OREJON,                              By:     H on.M ichaelF.U rbanski
      Petitioner.                                      U nited StatesD istrictJudge

       Forthe reasonsstated in the accom panying M em orandum Opinion,itishereby

                                      O R D ERED

thatthemotiontovacate,setasideorcorrectsentencepursuantto28U.S.C.j2255is
DISM ISSED withoutprejudiceassuccessive,acertificateofappealability isDENIED,andthe
caseisSTRICKEN from the activedocket.

      The Clerk shallsend copiesofthisOrderandtheaccompanying M emorandum Opinion

toPetitionerand counselofrecord fortheUnited States.

      ENTER:This4 1 dayofJune,2016.
                                           f+f* 4A .J /.X                                  '
                                                United StatesDistrictJudge
